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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
---------------------------------------------------------------------------x
SHIRLEY STEARNS, et al.,                                                   :
                                                                           :
                   Plaintiffs,                                             :   Case No.: 17-cv-131 (RCL)
                                                                           :   Filed Under Seal
-against-                                                                  :
                                                                           :
ISLAMIC REPUBLIC OF IRAN,                                                  :
                                                                           :
                   Defendant.                                              :
---------------------------------------------------------------------------x

      SPECIAL MASTER’S REPORT AND RECOMMENDATIONS REGARDING
      16 PLAINTIFFS IDENTIFIED IN THE COURT’S OCTOBER 3, 2022, ORDER
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                                        INTRODUCTION

        This Report and Recommendations addresses damage claims arising from the injuries

sustained by 16 of the 229 Plaintiffs for whom the Court granted default judgment against

Defendant, Islamic Republic of Iran, in its October 3, 2022, Order, 2022 WL 4764905 (D.D.C.

Oct. 3, 2022).

I.      PROCEDURAL BACKGROUND

        Plaintiffs filed their first Proposed Findings of Fact and Conclusions of Law in Support of

their Motion for Default Judgment on December 30, 2021, in which they requested default

judgment for Plaintiffs injured in 61 attacks. ECF No. 35. The Court granted default judgment in

favor of those Plaintiffs on October 3, 2022. ECF No. 47.

        On January 13, 2023, Plaintiffs moved to appoint me as Special Master to make a report

and recommendation (R&R) for the compensatory damages claims of the 229 Plaintiffs implicated

in the Court’s Order granting default judgment, ECF No. 50, which the Court granted on February

21, 2023, ECF No. 52.

        The Court authorized the special masters appointed in this case to file R&Rs on a rolling

basis. See ECF no. 58. I filed my first R&R for the compensatory damages claims of 17 Plaintiffs

on June 8, 2023, ECF No. 60, which are pending.

II.     CATEGORIES OF CLAIMS

        Plaintiffs are bringing three categories of claims which are typically adjudicated within the

framework for damages in Foreign Sovereign Immunities Act (“FSIA”) cases developed and

utilized frequently in this District:

        (i)      Economic loss claims: The representatives of a number of estates seek

compensation for economic losses in the form of lost wages, benefits, and retirement pay. See 28




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U.S.C. § 1605A(c) (“damages may include economic damages”). To support these claims for

economic losses, Plaintiffs submit reports prepared by L. Wayne Plumly, Jr., Ph.D.

       Dr. Plumly served as Professor of Economics at Langdale College of Business at Valdosta

State University in Valdosta, Georgia, until 2005, and as Dean until 2020. He has previously

provided expert reports regarding economic losses in terrorism cases which were adopted by

courts, including in Relvas v. Islamic Republic of Iran, No. 14-cv-01752 (RCL) (D.D.C. Feb. 28,

2018), ECF No. 83 (accepting economic claims calculated by Dr. Plumly and adopting reports and

recommendations found at ECF Nos. 50-52, 55-56, 62-63, 65, 71-72, 77) and John Doe A-1 to A-

49 v. Democratic People’s Republic of Korea, No. 18-cv-00252 (DLF) (D.D.C. Feb. 24, 2021),

ECF No. 108.

       (ii)    Conscious pain and suffering claims: The representatives of a number of estates

also seek conscious pain and suffering claims. Courts have awarded victims who experienced

conscious pain and suffering for seconds before their deaths $1 million. In Smith ex rel. Smith v.

Islamic Emirate of Afghanistan, 262 F. Supp. 2d 217, 234 (S.D.N.Y. 2003), amended, 2003 WL

23324214 (S.D.N.Y. May 19, 2003), a plaintiff who worked in the South Tower of the World

Trade Center was told to leave his office after a plane struck the North Tower. His office was on

the 97th floor, and the second plane that struck his building did so between the 73rd and 82nd

floors, creating the possibility that he experienced pain and suffering while descending the

staircase when the second plane hit his building. The court awarded the victim $1 million. The

court in Elahi v. Islamic Republic of Iran, 124 F. Supp. 2d 97, 113 (D.D.C. 2000), also awarded a

plaintiff who struggled with his assassin for thirty seconds before being shot and killed $1 million.

       (iii)   Solatium claims: Courts have established baseline solatium awards for family

members of victims who died as a result of terrorist attacks: The spouses of deceased victims




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typically receive $8 million; their parents receive $5 million; their siblings receive $2.5 million;

and their children receive $5 million. See Peterson v. Islamic Republic of Iran (“Peterson II”), 515

F. Supp. 2d 25, 52 (D.D.C. 2007); Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, 85

(D.D.C. 2010); Heiser v. Islamic Republic of Iran, 466 F. Supp. 2d 229, 269 (D.D.C. 2006). Courts

in this District have also established baseline solatium awards for family members of victims who

survived terrorist attacks: Spouses receive $4 million, parents and children receive $2.5 million,

and siblings receive $1.25 million. See Peterson II, 515 F. Supp. 2d at 52.

       These baseline awards are “not set in stone,” Murphy v. Islamic Republic of Iran, 740 F.

Supp. 2d 51, 79 (D.D.C. 2010), and may be adjusted based on “an especially close relationship

between the plaintiff and decedent, particularly in comparison to the normal interactions to be

expected given the familial relationship; medical proof of severe pain, grief or suffering on behalf

of the claimant; and circumstances surrounding the terrorist attack which made the suffering

particularly more acute or agonizing.” Oveissi v. Islamic Republic of Iran, 768 F. Supp. 2d 16, 26-

27 (D.D.C. 2011). See also Estate of Brown v. Islamic Republic of Iran, 872 F. Supp. 2d 37, 43-

44 (D.D.C. 2012) (awarding 20% upward departure to victim’s sister who “suffered a ‘nervous

breakdown’ following Anthony’s death for which she sought medical treatment and was

prescribed medication for approximately one year”) (citing special master report and

recommendation).

III.   THE 16 PLAINTIFFS’ INJURIES

       This R&R describes the five attacks for which this Court found Iran liable, the injuries

Plaintiffs sustained, and their ensuing claims for damages. Plaintiffs have requested the typical

baseline awards granted for solatium claims for 14 of the 16 Plaintiffs. They have also requested




                                                     3
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an upward departure for Jazmon Reyna, the half-sister of Specialist Curtis Glawson, Jr., and a

reduced award for Donald Mayes, Private First Class Antonio Stiggins’s stepfather.

          a.     The January 18, 2009, Attack – Baghdad

          On January 18, 2009, Staff Sergeant (“SSG”) Roberto Andrade, Jr. was the truck

commander of the lead vehicle of a four-vehicle convoy traveling from Forward Operating Base

(“FOB”) Rustamiyah to Baghdad when a multi-array explosive struck his vehicle, killing him.

SSG Andrade’s casualty report confirms that he was killed in the attack. See 2022 WL 4764905,

at *27.

          The Court found satisfactory evidence in the record to demonstrate that the explosive

responsible for SSG Andrade’s death in the January 18, 2009, attack was an Explosively Formed

Penetrator (“EFP”) “traceable to Iran and its proxies,” and found Iran responsible for the attack

“by supporting proxy forces who conducted the attack.” Id. at *28.

          The Plaintiffs in this case injured as a result of this attack are SSG Andrade’s estate; SSG

Andrade’s mother, Sandra Valencia; SSG Andrade’s stepmother, Veronica Pena Andrade; and

SSG Andrade’s two half-sisters, Angelica Andrade and Veronica D. Andrade. See Amended

Complaint (“AC”), ECF No. 14, ¶¶ 1218-28. The following chart reflects the claims asserted by

each of the Plaintiffs injured in the January 18, 2009, attack, as well as the evidence setting forth

the bases of those claims. That evidence is provided as exhibits to the accompanying Declaration

of Dina Gielchinsky (“Gielchinsky Declaration”).1

    Plaintiff   Relationship to           Claim(s) Asserted         Evidence                            Exhibit
                Direct Victim
    Estate of   Deceased victim           Economic loss             Order Appointing                    A
    Roberto                               claim                     Representative of
    Andrade,                              $1,786,097.12             Decedent’s Estate, dated
    Jr.                                                             April 3, 2019

1
           Because of how voluminous the exhibits to the Gielchinsky Declaration are, Plaintiffs provided me with a
link to them, and have indicated that they will provide the Court with the same materials.


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                                                                       Declaration of Roberto              B
                                                                       Andrade, Sr., dated April
                                                                       12, 2021
                                                                       Appraisal of Present Value          C
                                                                       of Economic Life of
                                                                       Roberto Andrade, Jr., dated
                                                                       March 30, 2023, prepared
                                                                       by L. Wayne Plumly, Jr.,
                                                                       Ph.D.
    Sandra       SSG Andrade’s              Solatium claim             Copy of Sandra Valencia’s           D
    Valencia     mother                     $5 million                 birth certificate
                                                                       Declaration of Sandra               E
                                                                       Valencia, dated August 17,
                                                                       2020
    Veronica     SSG Andrade’s              Solatium claim             Copy of Veronica Pena               F
    Pena         stepmother                 $5 million                 Andrade’s certificate of
    Andrade                                                            naturalization
                                                                       Declaration of Veronica             G
                                                                       Pena Andrade, dated
                                                                       November 10, 2020
    Angelica     SSG Andrade’s              Solatium claim             Copy of Angelica                    H
    Andrade      half-sister                $2.5 million               Andrade’s birth certificate
                                                                       Declaration of Angelica             I
                                                                       Andrade, dated May 7,
                                                                       2020
    Veronica     SSG Andrade’s              Solatium claim             Copy of Veronica D.                 J
    D.           half-sister                $2.5 million               Andrade’s birth certificate
    Andrade                                                            Declaration of Veronica D.          K
                                                                       Andrade, dated November
                                                                       4, 2020

                  1.       Claim by Estate of Roberto Andrade

                           i. Economic Loss Claim

         As the representative of SSG Andrade’s estate,2 Roberto Andrade, Sr.3 seeks compensation

for economic losses in the form of lost wages, benefits, and retirement pay. See 28 U.S.C. §

1605A(c) (“damages may include economic damages”).


2
        See Ex. A, Order Appointing Representative of Decedent’s Estate, dated April 3, 2019, appointing Roberto
Andrade, Sr. as representative of SSG Andrade’s estate.
3
        Roberto Andrade, Sr. brought claims individually as a plaintiff in Karcher, et al. v. Islamic Republic of Iran,
No. 16-cv-232 (CKK).


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       To project SSG Andrade’s future income stream if not for the attack, Dr. Plumly

incorporated testimonial evidence that he planned to serve eight years in the Army, after which he

would have secured employment as a firefighter in Arizona, and overlaid that information against

statistical data generated by the Bureau of Labor Statistics, the Department of Labor, military pay

websites, and other relevant sources.4 From these sources, Dr. Plumly calculated the present value

of SSG Andrade’s lost income, assuming that SSG Andrade, who was 26 years old when he was

killed, (1) would have remained in the military for eight years; (2) would have used the GI Bill to

obtain training as a firefighter and secured employment as a firefighter in Arizona with an annual

income of $43,744.49, adjusted annually by 3.085%, the percent change for the relevant years

according to the U.S. Bureau of Labor Statistics; (3) would have started collecting Social Security

Retirement (“SSR”) benefits at age 67; and (4) had a life expectancy of 76.66 years.5 Dr. Plumly

adjusted these income figures for taxes and consumption, adjusted the SSR benefits for inflation,

and adjusted the total lost earnings and SSR benefits to present value at a rate of 3.35%, the average

yield of 30-year Treasury Bonds between 2006-2022.6 Adjusted to present value, Dr. Plumly

calculated the estate of SSG Andrade’s economic loss claim as $1,786,097.12.7 I recommend that

the Court approve Plaintiffs’ requested award of $1,786,097.12 for the estate of SSG Andrade’s

economic loss claim.

                 2.      Solatium Claims Brought by SSG Andrade’s Family Members




4
       See Ex. C, Appraisal of Present Value of Economic Life of Roberto Andrade, Jr, dated March 30, 2023, at 3-
4.
5
       See id.
6
       See id. at 4-5.
7
       See id. at 5.



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         SSG Andrade’s family members seeking solatium damages in this case include his

stepmother and two half-sisters. In assessing whether to award step and half-relatives solatium

damages, courts in this District assess whether those relatives have demonstrated that they acted

as the “functional equivalent” of an immediate family member. See Fritz v. Islamic Republic of

Iran, 324 F. Supp. 3d 54, 63 (D.D.C. 2018) (“Accordingly, ‘[s]iblings of half-blood ... are

presumed to recover as a full-blood sibling would,’ Peterson II, 515 F.Supp.2d at 52, and step-

siblings have recovered as immediate family members when they were ‘treated like a brother [or

sister]’ or the ‘functional equivalent of a brother [or sister].’ Valore, 700 F.Supp.2d at 80.”). I find

that the submission by Plaintiffs demonstrates that SSG Andrade’s stepmother and half-sisters

constitute the “functional equivalent” of immediate family members.

                           i. Sandra Valencia8

         Sandra Valencia called her son “Junior,”9 and described how “Junior was simply a good

guy.”10 Sandra and SSG Andrade’s father divorced when he was three years old, but they lived

close to each other, and Junior sometimes rode back and forth between their houses on his

bicycle.11 He lived with Sandra and her mother at first, staying with his father and stepmother on

many weekends and alternate holidays, and with his father and stepmother during two years of

middle school.12



8
          Sandra Valencia’s declaration and birth certificate confirm that she is a U.S. citizen, and was so at the time
of the attack. She is therefore eligible to bring claims under 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(I) and 1605A(c). See Ex.
D, birth certificate; Ex. E, Declaration of Sandra Valencia, dated August 17, 2020, ¶ 1.
9
         Id.
10
         Id., ¶ 9.
11
         See id., ¶ 5; Ex. I, Declaration of Angelica Andrade, dated May 7, 2020, ¶ 6.
12
        See Ex. E, Declaration of Sandra Valencia, dated August 17, 2020, ¶ 6; Ex. G, Declaration of Veronica Pena
Andrade, dated November 10, 2020, ¶ 8.



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       Sandra has “happy memories of doing simple things” with her son, like watching TV and

decorating their Christmas tree.13 He was athletic, and she bragged about him all the time.14 She

was proud of how he played for the varsity team as a freshman, but she was also proud that he was

polite and opened doors for women.15

       Sandra recalled that “Junior had a strong desire to accomplish something with his life,”16

and enlisted in the Army soon after the September 11, 2001, attacks.17 Sandra spoke on the phone

with him during his basic and advanced training, and “could tell he was still very happy with the

path he’d chosen.”18 Junior was deployed to Iraq three times, and Sandra wrote him letters and

sent care packages. She looked forward to the “many big hugs” he would give her when he was

home between tours and wished he could stay home with her, but she knew how seriously he took

his service responsibilities.19 Sandra “was and am very proud of his drive and his efforts.”20

       Sandra recalled how she cried over the news that the two uniformed men who showed up

at her house on January 18, 2009, delivered to her.21 She cried so hard that she could not call

anyone to let them know what happened; instead, she went to work, hoping that if she did not think




13
       Ex. E, Declaration of Sandra Valencia, dated August 17, 2020, ¶ 7.
14
       See id., ¶ 8.
15
       See id., ¶¶ 8-9.
16
       Id., ¶ 9.
17
       See id., ¶ 10.
18
       Id., ¶ 10.
19
       Id., ¶ 11.
20
       Id.
21
       See id., ¶ 13.



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about what she had just been told, it might not be true.22 Her plan failed, and she left work early,

feeling overwhelmed by “incredible sadness.”23

       Her crying continued for days, and just when she felt like she had no more tears to cry, the

military notified their family that they had found more of SSG Andrade’s body parts:24 “I started

crying all the time all over again.”25

       Sandra stated that she still cannot believe that her son is gone.26 She asks herself every year

on her birthday – which is the day before Junior’s – how long she “should” be so unhappy or

depressed, and she still has no answer.27 No matter how much time passes, she “still feel[s] that

way.”28 Certain days are worse than others – her birthday, Junior’s birthday, Memorial Day,

Veterans Day, Thanksgiving, Christmas, and Easter are all particularly challenging.29 Regular days

can also be overwhelming if she sees someone who looks like Junior or a memory of him springs

to her mind.30 Sandra tries to focus on the happy times she had with her son, but cannot deny the

“sadness that is always with me.”31




22
       See id., ¶¶ 13, 14.
23
       Id., ¶ 14.
24
       See id., ¶¶ 15, 16.
25
       Id., ¶ 16.
26
       See id., ¶ 18.
27
       Id., ¶ 20.
28
       Id.
29
       Id., ¶ 21.
30
       See id., ¶ 22.
31
       Id., ¶ 24.



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         I recommend that the Court approve Plaintiffs’ requested award of $5 million for Sandra

Valencia’s solatium claim.

                             ii. Veronica Pena Andrade32

         SSG Andrade was four years old when Veronica Pena Andrade married his father.33

Veronica had two daughters with Roberto Andrade, Sr., and regarded Junior as the son she never

had: “I loved him very much.”34 She treasures one memory where SSG Andrade introduced her as

his mother to his friends while she was visiting him in Fort Hood.35

         Like SSG Andrade’s mother, Veronica also described how SSG Andrade lived with her

during his middle school years and otherwise with his mother, spending weekends and alternate

holidays with her. The schedule was not concrete, and Veronica remembered dropping him off at

high school many mornings after eating breakfast together as a family.36 It was important to

Veronica to eat family meals together, and Junior particularly liked her Mexican dishes.37

         Veronica recalled visiting her family in Mexico with SSG Andrade, where they spent

afternoons at the beach and had cookouts for dinner. When SSG Andrade was older, he would visit

the downtown clubs and drive off-road vehicles. Other family vacations included national parks,




32
          Veronica Pena Andrade’s certificate of naturalization and declaration confirm that she was naturalized as a
U.S. citizen before the attack on February 29, 2008. She is therefore eligible to bring claims under 28 U.S.C. §§
1605A(a)(2)(A)(ii)(I) and 1605A(c). See Ex. F, certificate of naturalization; Ex. G, Declaration of Veronica Pena
Andrade, dated November 10, 2020 (citations to this declaration refer to the English translation starting at page 6 of
the pdf), ¶ 1.
33
         See id., ¶ 5.
34
         Id.
35
         See id., ¶ 14.
36
         See id., ¶¶ 7, 8.
37
         See id., ¶¶ 7, 9.



                                                              10
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amusement parks, and visits to relatives in Texas.38 SSG Andrade played soccer, and Veronica

attended his practices and games, even traveling hours to away games. After, they celebrated his

wins at the local pizza parlor where SSG Andrade liked to play arcade games.39

       Veronica remembered feeling happy when SSG Andrade enlisted in the Army, but also sad

that he was leaving.40 When he deployed, they spoke on the phone and over Skype, which

alleviated Veronica’s concern over him. She recalled happily sending him care packages with

cookies, cheese sticks, beef jerky and sunflower seeds.41

       Veronica called January 18, 2009, a “terrible day.”42 She knew instantly that something

“was very wrong” when the military officers arrived at her house, but they would not tell her the

news because she was not SSG Andrade’s biological mother.43 When her husband came home and

they gave them “the awful news,” Veronica felt physical pain.44

       Veronica described how difficult the wait for SSG Andrade’s body to arrive stateside was:

“I wanted him home so badly. He was my son.”45 When the plane finally arrived, she wanted to

see SSG Andrade’s body, but they were not allowed. That was hard for Veronica.46 Veronica




38
       See id., ¶ 10.
39
       See id., ¶ 11.
40
       See id., ¶ 12.
41
        See id., ¶ 16.
42
       Id., ¶ 17.
43
       Id.
44
       Id.
45
       Id., ¶ 18.
46
       See id.



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continued to feel pained at the funeral service and cemetery. She wanted to see him one last time

but could not.47

       “I lost my only boy,” Veronica stated.48 She looks at the photographs of SSG Andrade

throughout her house and wishes they had more time together.49 She feels “great sadness” on many

days because he is not with her, and described how her “heart is still broken.”50

       Courts in this District grant solatium awards to step-relatives even when the direct victim

maintained a relationship with a biological relative whose role was taken on or supplemented by

the stepparent. For example, the court in Fritz adopted the recommendation of the special master

appointed in that case to award the stepmother $1.5 million at the request of the plaintiffs in that

case – 25% of the amount the court awarded to that service member’s biological mother. See Fritz

v. Islamic Republic of Iran, No. 15-cv-456 (RDM), 2018 WL 5046229, at *22 (D.D.C. Aug. 13,

2018), report and recommendation adopted as modified, 324 F. Supp. 3d 54. The stepmother and

the direct victim lived in the same household for portions of a three-year period, during which the

direct victim turned 18. See id. The special master in that case stated that “it is not clear that the

duration of the relationship should matter,” but noted that there “is a suggestion in the case law

that the age at which the relationship commenced could be a relevant factor.” Id. The special master

opined that “[i]t would not be unreasonable to award a higher amount” than the $1.5 million

plaintiffs requested on her behalf, “but in light of Vanessa’s testimony – which indicates that while




47
       See id., ¶ 19.
48
       Id., ¶ 21.
49
       See id.
50
       Id., ¶¶ 20, 21.



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she feels a loss, the focus of her concern is the effect that Bryan’s death has had on her husband,”

the plaintiffs’ request was reasonable and appropriate. Id.

         Similarly, the court in In re Terrorist Attacks on September 11, 2001, awarded two

stepchildren full solatium damages for the death of their stepfather, even though they still

maintained relationships with their biological father. Lea and Seth Bitterman, the stepchildren of

decedent Donald Havlish, lived together in the same home with Mr. Havlish from the time they

were six and eight, respectively, until the September 11, 2001, attacks, when they were 18 and 20,

respectively. They saw their biological father every other weekend, and Mr. Havlish told Seth that

he did not want to replace his biological father. Still, the magistrate judge had “no difficulty in

concluding” that the plaintiffs were the functional equivalents of children to Mr. Havlish, and

recommended that they each be awarded the full solatium damages of $8.5 million for a child. See

In re Terrorist Attacks on Sept. 11, 2001, No. 03-mdl-1570 (GBD) (SN), 2016 WL 8711419, at

*8-9 (S.D.N.Y. Oct. 14, 2016), report and recommendation adopted sub nom. In re: Terrorist

Attacks on Sept. 11, 2001, No. 03-mdl-1570 (GBD) (SN), 2016 WL 6465922 (S.D.N.Y. Oct. 31,

2016).

         I find that Plaintiffs have shown that Veronica Pena Andrade was the “functional

equivalent” of SSG Andrade’s mother, and recommend an award of $5 million for her solatium

claim.

                           iii. Angelica Andrade51




51
          Angelica Andrade’s birth certificate and declaration confirm that she is a U.S. citizen, and was so at the time
of the attack. She is therefore eligible to bring claims under 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(I) and 1605A(c). See Ex.
H, birth certificate; Ex. I, Declaration of Angelica Andrade, dated May 7, 2020, ¶ 1.



                                                               13
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       Angelica Andrade was SSG Andrade’s younger sister; he was seven when she was born to

his father and stepmother.52 Angelica recalled how he sometimes lived with his mother, and

sometimes lived with them, but described how, “[r]egardless of where he slept at night, we saw

one another often and hung out together on many weekends.”53 Angelica described how her

“family of five” enjoyed summer vacations together, remembering one particular trip to Sequoia

National Park, where they marveled at the giant sequoias.54 They also visited family in El Paso

during the holidays.55

       Angelica recalled how SSG Andrade loved playing soccer and described how she attended

his games throughout the years. Even after he deployed to Iraq, SSG Andrade told Angelica how

he continued to play soccer with his Army buddies and the Iraqi children.56 Angelica remembered

sending care packages to SSG Andrade during his multiple deployments to Iraq. His mother and

grandmother added items to their care packages, and Angelica and her mother and sister would

add items to theirs.57

       Angelica kept in touch with SSG Andrade through e-mail and telephone conversations, and

especially enjoyed the opportunities they had to Skype: “It was always great to see his face while

talking to him.”58 SSG Andrade came home on leave in 2008, and stayed at his father’s house,




52
       See id., ¶ 5.
53
       Id., ¶ 6.
54
       See id., ¶ 7.
55
       See id.
56
       See id., ¶ 8.
57
       See id., ¶ 9.
58
       Id., ¶ 12.



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where Angelica was still living at the time. That was the last time they spent time together in

person.59

       Angelica was at a football game with her friends when her mother called her, insisting that

she come home. Angelica resisted until her mother finally said that “something bad” had happened

to her brother, and then started sobbing. Angelica started crying too. She left the game without

answering her friend who had asked her if she was all right.60 She cried “hysterically” on her way

home, and when she got home, she went to her room and continued crying.61 While they waited

for SSG Andrade’s body to be returned to the United States, Angelica went to work, and she cried

there too. Ultimately, she had to take leave from work.62

       Angelica was at the airport with her husband, parents, and SSG Andrade’s mother and

grandmother when his body was returned. She recalled feeling disbelief when she saw the casket

draped in the American flag.63 The funeral that followed remains a “blur” to Angelica, except for

when they sang “Hail Mary.” Angelica also recalled standing by herself near the gravesite for a

few minutes before tossing a red rose onto her brother’s casket.64

       Angelica thinks about her brother often – when she passes the cemetery, hears a song he

performed during a karaoke night they attended together, while watching her children play sports,

and on holidays like Veterans Day and Memorial Day.65 She tends to his gravesite, sometimes


59
       See id., ¶ 11.
60
       Id., ¶ 13.
61
       Id., ¶ 14.
62
       See id., ¶ 15.
63
       See id., ¶ 16.
64
       See id., ¶¶ 17-18.
65
       See id., ¶¶ 19-20.



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bringing her children with her.66 When she turned 27, a year older than SSG Andrade was when

he died, she lamented the “years in his future that he never had the chance to live.”67 She described

how SSG Andrade “was more than a brother – he was a really good friend who I could turn to,”

and she misses his advice and support.68 She named her son “Robert” and feels that her brother’s

name lives on in that way.69

         I believe that Plaintiffs have shown Angelica Andrade satisfies the “functional equivalent”

test required for half-siblings to recover solatium damages and recommend an award of $2.5

million for her solatium claim.

                           iv. Veronica D. Andrade70

         SSG Andrade was five years old when his half-sister Veronica D. Andrade was born.71

Like Angelica, Veronica also recalled vacations with her “family of five” to visit the Sequoia

National Park and cousins in El Paso.72 Also like Angelica, Veronica recalled watching SSG

Andrade play soccer throughout his teen years.73




66
         See id., ¶ 19.
67
         Id., ¶ 23.
68
         Id., ¶ 22.
69
         See id., ¶ 24.
70
         Veronica D. Andrade’s declaration and birth certificate confirm that she is a U.S. citizen, and was so at the
time of the attack. She is therefore eligible to bring claims under 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(I) and 1605A(c).
See Ex. J, birth certificate; Ex. K, Declaration of Veronica Denisse Andrade, dated November 4, 2020, ¶ 1.
71
         See id., ¶ 5.
72
         Id., ¶¶ 7, 8.
73
         See id., ¶ 9.



                                                              16
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        Veronica remembered praying for her brother during his three tours of Iraq.74 She lived at

home during his deployments, and felt fortunate that she was always able to talk on the phone with

him when he called.75 He would tell her how he liked playing with the Iraqi children, and she

would update him on what was going on in her life.76 She was “always so happy” to hear his voice,

but it was even more “wonderful” when he returned home and lived at her parents’ house.77 SSG

Andrade needed civilian clothes while he was home, and asked her to go shopping together.

Veronica was flattered that he liked her style.78 Before his last deployment, SSG Andrade used to

drive Veronica to and from school each day.79 The last time she saw him was the day he dropped

her off at school.80

        Veronica “clearly remember[s]” the military coming to her house to tell them that SSG

Andrade had been killed.81 They waited for her father to come home to deliver the news, as her

mother was not SSG Andrade’s biological mother, and when he arrived, her parents sent her to her

room. After they left, her father told her what happened, although she already knew.82

        Veronica described crying and having trouble sleeping while they waited for his body to

be returned stateside.83 She wanted him home but was also anxious about it becoming real. Indeed,


74
        See id., ¶ 10.
75
        See id., ¶ 13.
76
        See id.
77
        Id., ¶¶ 11, 13.
78
        See id., ¶ 12.
79
        See id., ¶ 14.
80
        See id.
81
        Id., ¶ 16.
82
        See id., ¶ 17.
83
        See id., ¶ 18.


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when she saw his casket, she “cried and cried and was forced to accept that he was gone. It was

really true.”84 Veronica does not remember much from the funeral or services except that she cried:

“It’s like part of my mind has decided it wants to erase those memories.”85



                                         She knows that when her brother comes to mind, or on

certain dates like his birthday or the anniversary of his death, she will become very depressed or

anxious “in ways that are probably more intense and painful than for other people.”86 Having lost

him in such a tragic way “makes losing him that much harder for me to deal with.”87

Still, she cannot avoid thinking about him. SSG Andrade loved the holidays, and Veronica misses

him especially during those times. She does not feel like she actually celebrates holidays anymore;

she simply focuses on her children when her family gets together for holidays.88

       Veronica described how she looked up to her brother, and misses being able to ask him for

his advice. She decided to become a nurse partly because of how he helped people.89 She wonders

if he would have had children, because he would have been a good father.90 She continues to talk




84
       Id., ¶ 19.
85
       Id., ¶¶ 21, 22.
86
       Id., ¶ 26.
87
       Id., ¶ 31.
88
       See id., ¶ 25.
89
       See id., ¶ 28.
90
       See id., ¶ 30.


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to him and tell him about what she has going on in her life.91 When she places fresh flowers at his

grave, she asks if he likes them.92

       I believe that Plaintiffs have shown that Veronica D. Andrade has satisfied the “functional

equivalent” test required for half-siblings to recover solatium damages and recommend an award

of $2.5 million for her solatium claim.

       b.       December 1, 2007, Attack – Baghdad

       On December 1, 2007, Specialist (“SPC”) Matthew K. Reece was conducting a patrol in

the Rusafa neighborhood of Baghdad with a six-vehicle convoy when an explosive struck the right

side of his vehicle. SPC Reece’s casualty report confirms that he was killed in the attack. See 2022

WL 4764905, at *23. This Court found satisfactory evidence in the record to demonstrate that the

explosive used in this attack was “an EFP traceable to Iran and its proxies,” and found Iran

responsible for the attack “by supporting proxy forces who conducted the attack.” Id.

       The Plaintiffs in this case injured as a result of this attack are Preston Reece, SPC Reece’s

brother; and Shaylyn C. Reece, SPC Reece’s sister. See AC, ¶¶ 937-943. The following chart

reflects the claim asserted by Plaintiffs injured in the December 1, 2007, attack, as well as the

evidence setting forth the bases of that claim. That evidence is provided as exhibits to the

accompanying Gielchinsky Declaration.

 Plaintiff     Relationship to        Claim(s) Asserted    Evidence                       Exhibit
               Direct Victim
 Preston       SPC Reece’s            Solatium claim       Copy of Preston Reece’s        L
 Reece         brother                $2.5 million         birth certificate
                                                           Declaration of Preston         M
                                                           Reece, dated May 4, 2023



91
       See id., ¶ 31.
92
       See id., ¶ 24.



                                                    19
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 Shaylyn             SPC Reece’s sister     Solatium claim             Copy of Shaylyn Reece’s              N
 Reece                                      $2.5 million               birth certificate
                                                                       Declaration of Shaylyn               O
                                                                       Reece, dated August 25,
                                                                       2020

                     1.          Solatium Claims Brought by SPC Reece’s Family Members

                            i.      Preston Reece93

         Preston Reece called SPC Reece by his middle name, “Kyle.”94 He described how he and

his three siblings grew up poor, living in a one-bedroom shack in the country. His parents fought

often and divorced when Preston was fourteen and SPC Reece was nine.95 Their father remarried

a woman with whom Preston and SPC Reece did not get along: “it was a difficult situation.”96 Out

of his three siblings, Preston felt closest to SPC Reece, and they supported each other.97 They

played GI Joe and video games, dug for nightcrawlers which they collected in empty cans, and

went fishing.98

         Preston described how SPC Reece “struggled to find direction” in his later years of high

school. His girlfriend got pregnant and they decided to marry. The only two guests were Preston

and his wife; Preston was the best man.99 SPC Reece enlisted soon after, hoping for a career path




93
          Preston Reece’s declaration and birth certificate confirm that he is a U.S. citizen, and was so at the time of
the attack. He is therefore eligible to bring claims under 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(I) and 1605A(c). See Ex. L,
birth certificate; Ex. M, Declaration of Preston Reece, dated May 4, 2023, ¶ 1.
94
         See id.
95
         See id., ¶ 5.
96
         Id., ¶ 6.
97
         See id., ¶¶ 6-7.
98
         See id., ¶ 7.
99
         See, id., ¶ 8.



                                                               20
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that would support his family.100 Preston recalled how SPC Reece found basic training challenging

and considered leaving. Preston encouraged him to stay, and SPC Reece completed the training

successfully.101

       SPC Reece was deployed to Iraq soon after his graduation, and again confided in Preston

about the challenges he faced in the Army. This time, he gave Preston instructions for his burial in

case he was killed, which rattled Preston.102 Although worried himself, Preston had to reassure

their mother that SPC Preston was safe. He coped with his own fears by avoiding news updates on

what was happening in Iraq.103

       SPC Reece’s wife called Preston on December 1, 2007, with the news that SPC Reece had

been killed.104 While in shock, Preston called his parents to tell them, a task he characterized as

“the hardest thing I would ever have to do.”105 He then visited each of them. All the while, he tried

to remain focused so he could carry out SPC Reece’s instructions for his burial.106 He found it

difficult to eat or sleep during this time, and at one point felt such intense physical pain he could

not catch his breath and feared he was having a cardiac event.107




100
       See id., ¶ 9.
101
       See id., ¶ 10.
102
       Id., ¶¶ 12-13.
103
       See id., ¶ 15.
104
       See id., ¶ 16.
105
       Id., ¶ 17.
106
       See id., ¶ 18.
107
       See id., ¶¶ 18-19.
108
       See id., ¶ 20.



                                                     21
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         Preston received his brother’s body at the Dover Air Force Base and accompanied him

home. His funeral was held at his former high school where Preston delivered the eulogy.109

Following his family’s tradition of the men burying their relatives by hand, Preston was the first

to place dirt on SPC Reece’s coffin. 110

         Preston often returns to his brother’s grave to talk to him. 111 Sometimes he tells him about

what is going on his life, and sometimes he reminisces about the past.112 Sometimes, he admits to

SPC Reece that he feels guilty about encouraging him to remain at basic training: “Had I supported

his impulse to leave the military, Kyle would still be alive.”113 Preston still has difficulty sleeping

and often has violent nightmares. In one particular recurring dream that started after SPC Reece’s

death, Preston’s son is dying and he cannot save him.114 Preston knows that he “will miss Kyle

every day for the rest of my life.”115

         I recommend an award of $2.5 million for Preston Reece’s solatium claim.

                          ii.    Shaylyn Reece116

         Shaylyn was two years younger than SPC Reece,117 and considered him the “greatest older



109
         See id., ¶ 21.
110
         See id., ¶ 22.
111
         See id., ¶ 25.
112
         See id.
113
         Id.
114
         See id., ¶ 24.
115
         See id., ¶ 26.
116
          Shaylyn Reece’s declaration and birth certificate confirm that she is a U.S. citizen, and was so at the time of
the attack. She is therefore eligible to bring claims under 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(I) and 1605A(c). See Ex.
N, birth certificate; Ex. O, Declaration of Shaylyn Reece, dated August 25, 2020, ¶ 1.
117
         See Ex. N, birth certificate.



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brother.”118 Like Preston, Shaylyn also recalled fishing and digging up nightcrawlers with SPC

Reece.119 Shaylyn described what a talented basketball player SPC Reece was, and how she started

playing because of him. He taught her how to become a better player, and the two would spend

hours shooting hoops or playing with friends. They each made the school teams and went to each

other’s games.120 Shaylyn recalled that SPC Reece let her hang out with his friends, but drew the

line at dating them.121

       Preston was the person who called Shaylyn to tell her that SPC Reece had been killed.

Shaylyn told him his joke was a bad one, but he was serious and insisted that she come home.122

She called her mother, but her aunt answered the phone. Shaylyn recalled that all she could hear

“was my mother screaming.”123 According to Shaylyn, “[m]y mother was destroyed.”124

       Shaylyn called the sight of her brother being taken off the plane in a casket “sheer agony,”

and described how “[t]hat was the moment when reality set in.”125 She could barely stand and was

overcome with sadness and loss.126




118
       Ex. O, Declaration of Shaylyn Reece, dated August 25, 2020, ¶ 5.
119
       See id., ¶ 6.
120
       See id., ¶¶ 8-10.
121
       See id., ¶ 11.
122
       See id., ¶¶ 15-16.
123
       Id., ¶ 22.
124
       Id., ¶ 23.
125
       Id., ¶ 27.
126
       See id., ¶ 28.



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       Shaylyn has the same dream about SPC Reece every night – “He is there but I cannot get

to him or talk to him.”127 She feels “riddled with guilt” at not being there to help her brother, at

any moment during which “a hint of joy creeps into my life,” at having children, and at being

alive.128 She explained that she has become “extremely overprotective” of her children, since she

is afraid that “at any given moment something could happen and take my children from me, just

like Kyle was taken from us.”129

       I recommend an award of $2.5 million for Shaylyn Reece’s solatium claim.

       c.           March 20, 2007, Attack – Baghdad

       On March 20, 2007, SPC Curtis Glawson, Jr. was situated as the commander of a 10-ton

984/A1 up-armored Heavy Expanded Mobility Tactical Truck (“HEMTT”) when a multi-array

explosive struck the vehicle’s right side, destroying it and killing SPC Glawson. SPC Glawson’s

casualty report confirms that he was killed in the attack. See 2022 WL 4764905, at *17. The Court

found satisfactory evidence in the record to demonstrate that the explosive responsible for SPC

Glawson’s death was an “EFP traceable to Iran and its proxies,” and found Iran responsible for the

March 20, 2007, EFP attack “by supporting proxy forces who conducted this attack. Id., at *18.

       The Plaintiffs in this case injured as a result of this attack are the SPC Glawson’s estate;

and Jazmon Reyna, SPC Glawson’s half-sister. See AC, ¶¶ 641-48. The following chart reflects

the claims asserted by each of the Plaintiffs injured in the March 20, 2007, attack, as well as the

evidence setting forth the bases of those claims. That evidence is provided as exhibits to the

accompanying Gielchinsky Declaration.



127
       Id., ¶ 30.
128
       Id., ¶¶ 31-32.
129
       Id., ¶ 35.



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 Plaintiff      Relationship to           Claim(s) Asserted         Evidence                            Exhibit
                Direct Victim
 Estate of      Plaintiff decedent’s      Economic loss             Copy of Order Granting              P
 Curtis E.      estate                    claim                     Letters of Administration
 Glawson,                                 $2,652,663.67             Declaration of Hyunjung             Q
 Jr.                                                                Glawson, dated April 2,
                                                                    2021
                                                                    Appraisal of Present Value          R
                                                                    of Economic Life on Curtis
                                                                    Eric Glawson, Jr., dated
                                                                    May 29, 2023, prepared by
                                                                    L. Wayne Plumly, Jr.,
                                                                    Ph.D.
 Jazmon         SPC Glawson’s             Solatium claim            Copy of Jazmon Reyna’s              S
 Reyna          half-sister               $3.125 million            birth certificate
                                                                    Declaration of Jazmon               T
                                                                    Reyna, dated May 5, 2023
                                                                    Declaration of Yolanda              U
                                                                    Brooks, dated July 9, 2012,
                                                                    in Karcher, et al. v. Islamic
                                                                    v. Republic of Iran, No. 16-
                                                                    cv-00232 (CKK)
                                                                    Declaration of Sabrina              V
                                                                    Glawson on Behalf of the
                                                                    Estate of Cortez Glawson,
                                                                    dated July 2, 2019, in
                                                                    Karcher, et al. v. Islamic v.
                                                                    Republic of Iran, No. 16-
                                                                    cv-00232 (CKK)

                 1.      Claim by Estate of Curtis E. Glawson, Jr.

                          i. Economic Loss Claim

        As the representative of SPC Glawson’s estate,130 Hyunjung Glawson131 seeks

compensation for economic losses in the form of lost wages, benefits, and retirement pay.




130
       See Ex. P, Order Granting Letters of Administration, dated November 14, 2017, appointing Hyunjung
Glawson as representative of SPC Glawson’s estate.
131
        Hyunjung Glawson brought claims individually as a plaintiff in Karcher, et al. v. Islamic Republic of Iran,
No. 16-cv-232 (CKK).



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        To project SPC Glawson’s future income stream if not for the attack, Dr. Plumly

incorporated testimonial evidence that he planned to serve 20 years in the Army, after which he

would have opened a car repair shop in Alabama, and overlaid that information against statistical

data generated by the Bureau of Labor Statistics, the Department of Labor, military pay websites,

and other relevant sources.132 From these sources, Dr. Plumly calculated the present value of SPC

Glawson’s lost income, assuming that SPC Glawson, who was 24 years old when he was killed,

(1) would have remained in the military for 20 years; (2) would have opened a car repair shop in

Alabama with an annual income of $65,070, adjusted annually by 3.085%, the percent change for

the relevant years according to the U.S. Bureau of Labor Statistics; (3) would have started

collecting Social Security Retirement (“SSR”) benefits at age 67; and (4) had a life expectancy of

70.68 years.133 Dr. Plumly adjusted these income figures for taxes and consumption, adjusted the

SSR benefits for inflation, and adjusted the total lost earnings and SSR benefits to present value at

a rate of 3.35%, the average yield of 30-year Treasury Bonds between 2006-2022.134 Adjusted to

present value, Dr. Plumly calculated the estate of SPC Glawson’s economic loss claim as

$2,652,663.67.135 I recommend an award in this amount for the estate of SPC Glawson’s economic

loss claim.




132
        See Ex. R, Appraisal of Present Value of Economic Life on Curtis Eric Glawson, Jr., dated May 29, 2023,
prepared by L. Wayne Plumly, Jr., Ph.D., at 3-4.
133
        See id.
134
        See id. at 4-5.
135
        See id. at 5.



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                     1.          Solatium Claims Brought by SPC Glawson’s Family Members

                            i.      Jazmon Reyna136

         SPC Glawson was 15 years old when Jazmon Reyna was born to his mother, who had

divorced his father the year before.137 Jazmon was raised in the same house as SPC Glawson, their

brother Cortez, and sister Kierra.138 She was three years old when SPC Glawson enlisted in the

military, which came as no surprise to her military family. SPC Glawson’s parents had both served,

and after SPC Glawson enlisted Cortez joined too.139 Jazmon has served in the Air Force for the

past eight years.140

         The time difference prevented Jazmon from speaking to SPC Glawson when he called from

his deployments; even though she asked her mother to wake her, her mother did not want her to

be tired at school the next day.141 Jazmon recalled how her brother sent her handmade gifts from

whatever country he was stationed in, some of which she still has.142 When SPC Glawson was

stateside, Jazmon would watch for the little red car he drove, and when she spotted it, she would

run to greet him. She “missed him constantly, and wanted to go everywhere he went when he was

home.”143 SPC Glawson was accommodating, and let her tag along with him and his friends.144 He


136
          Jazmon Reyna’s birth certificate and declaration confirm that she is a U.S. citizen, and was so at the time of
the attack. She is therefore eligible to bring claims under 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(I) and 1605A(c). See Ex.
S, birth certificate; Ex. T, Declaration of Reyna Jazmon, dated May 5, 2023, ¶ 1.
137
         See id., ¶ 4.
138
         See id.
139
         See id., ¶ 5.
140
         See id., ¶ 24.
141
         See id., ¶ 6.
142
         See id., ¶ 7.
143
         Id., ¶ 8.
144
         See id., ¶¶ 8-9.


                                                               27
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promised her that when she got older, the two of them would go on a trip somewhere together.145

Jazmon’s mother, a plaintiff in Karcher, et al. v. Islamic v. Republic of Iran, No. 16-cv-00232

(CKK), also remembered this promise, and described how “Curtis used to call her ‘poo.’ He’d call

her from Iraq and tell her: ‘When I get home, it’s gonna be me and you, poo. This is what we are

going to do.’ And then he’d tell her where they were going to go together, Curtis and poo.”146

        Jazmon was nine when SPC Glawson was killed.147 She and her mother were watching

television together when two military officers rang the doorbell and told her mother about the

attack. Jazmon remembered feeling “confused and terrified” when her mother “began to sob and

fell to the floor,”148 after which her mother “became hysterical and ran through the house grabbing

pictures from the wall.”149 Jazmon remembered that “[i]n a state of panic and pain I ran from her

to the corner of the room and cried myself to sleep.”150

        Jazmon recalled how her brother’s head “was entirely wrapped in bandages” at the funeral,

and when she asked why, she was told that he suffered extensive injuries to his head and that she

was not allowed to touch or hug him.151 According to Jazmon, SPC Glawson was

“unrecognizable,” and the “sight of him was jarring and haunts me to this day.”152




145
        See id., ¶ 9.
146
        Ex. U, Declaration of Yolanda Brooks, dated July 9, 2012, in Karcher, et al. v. Islamic v. Republic of Iran,
No. 16-cv-00232 (CKK), ¶ 13.
147
        See Ex. T, Declaration of Reyna Jazmon, dated May 5, 2023, ¶ 11.
148
        Id.
149
        Id., ¶ 12.
150
        Id.
151
        Id., ¶ 14.
152
        Id.


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        Jazmon’s family changed after SPC Glawson’s death. She described how her mother

became emotionally withdrawn, and she was “left to fend for myself for over a year.”153 Just nine

years old, she prepared her own meals and ironed her own clothes while her mother sat in front of

the television, “seemingly disconnected from everything around her, until she dozed off.”154 Her

mother recalled this time as well: “I shut down for a year. I stopped cooking. I don’t know what

Kierra and Jazmon ate.”155 Jazmon managed to get her attention when she asked her to share stories

about SPC Glawson. Sometimes, her mother would play videos she had recorded of SPC Glawson

playing basketball, and the two would watch them for hours.156

        Jazmon’s brother, Cortez, also changed. She recalled overhearing her mother discussing

him getting into some kind of trouble with the Army after SPC Glawson’s funeral.157 He was

discharged and returned home, where “he started hanging out with the wrong crowd, engaging in

drug and alcohol use.”158 Her family worried about him, aware that he was battling drug

addiction.159 Cortez’s widow, Sabrina Glawson, represents his estate in Karcher, and further

described the effect SPC Glawson’s death had on him: “Cortez took Curtis’s death very hard. From

that moment of his finding out, everything went downhill as far as his drive and how he handled




153
        Id., ¶ 17.
154
        Id.
155
        Ex. U, Declaration of Yolanda Brooks, dated July 9, 2012, in Karcher, et al. v. Islamic v. Republic of Iran,
No. 16-cv-00232 (CKK), ¶ 20.
156
        See Ex. T, Declaration of Reyna Jazmon, dated May 5, 2023, ¶ 18.
157
        See id., ¶ 19.
158
        Id.
159
        See id., ¶¶ 19-20.



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his business. He never got counseling; he just felt like he could work it out himself.”160 He started

“drinking excessively,” and she would find him passed out under a table or in his car.161 Sabrina

explained that “[l]osing Curtis was like losing a piece of himself,” and he was depressed.162 He

lost his drive to serve in the Army, and she and his mother sat down with his leadership to explain

what he was going through. Cortez was honorably discharged, but his record reflected a failure to

adapt. According to Sabrina, Cortez declined further after he left the Army: “He couldn’t hold a

job and was drinking heavily. He just let the drinking overcome him.”163

        Years later, in 2018, Jazmon and Cortez spoke on the phone about his new job and her new

promotion. Jazmon recalled him sounding optimistic.164 Later that day, her aunt called to tell her

that Cortez was unresponsive and could not be resuscitated. He died of a fentanyl overdose, and

Jazmon was tasked with delivering the news to her mother.165

        SPC Glawson’s other family members – his parents, Cortez’s estate, and sister Kierra – are

plaintiffs in Karcher, in which a motion for the appointment of special masters is pending. Once

granted, they will each request upward departures of 25% to reflect their dual losses. Plaintiffs

here similarly point to Valore v. Islamic Republic of Iran, 700 F. Supp. 2d 52, at 86, in which the

court made two awards to a family member whose brother and husband were both killed in the

same attack and increased her award as a sibling by 25% because she turned to alcohol and drugs



160
        Ex. V, Declaration of Sabrina Glawson on Behalf of the Estate of Cortez Glawson, dated July 2, 2012, in
Karcher, et al. v. Islamic v. Republic of Iran, No. 16-cv-00232 (CKK), ¶ 9.
161
        Id.
162
        Id.
163
        Id., ¶ 10.
164
        See Ex. T, Declaration of Reyna Jazmon, dated May 5, 2023, ¶ 20.
165
        See id.



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in an attempt to dull her pain. (The court did not grant an upward departure of her award in respect

of her husband because she had only been married for six months before the attack.) While Cortez

Glawson’s extreme reaction to his brother’s death is foreseeable and compensable in the form of

an upward departure, Plaintiffs are not requesting two awards to compensate Jazmon for the loss

of both brothers. Rather, their request for $3.125 million, representing a 25% upward departure

from baseline FSIA awards for siblings, reflects the degree to which Cortez’s suffering and death

compounded the already profound tragedy of SPC Glawson’s death. I recommend an award of

$3.125 million for Jazmon Reyna’s solatium claim.

       d.       May 5, 2006, Attack – Baghdad

       On May 5, 2006, First Sergeant (“1SG”) Carlos Saenz was traveling in the lead vehicle of

a four-vehicle convoy returning from their mission when their vehicle was struck by a multi-array

explosive, causing their vehicle to careen into an oncoming dump truck. 1SG Saenz’s casualty

report confirms that he died as a result of the attack. See 2022 WL 4764905, at *12.166 The Court

found satisfactory evidence in the record to demonstrate that the explosive responsible for the May

5, 2006, attack was an “EFP traceable to Iran and its proxies,” and found Iran responsible for the

EFP attack “by supporting proxy forces who conducted this attack.” Id. at *13.

       The Plaintiffs in this case injured as a result of this attack are Joaquina Saenz Chorens, 1SG

Saenz’s mother; Luz Maria Estrada, 1SG Saenz’s sister; and Frances Catherine Castro and Elva

Espinoza, 1SG Saenz’s half-sisters. See AC, ¶¶ 363-71. Because Joaquina Saenz Chorens is a

permanent resident of the U.S., and not a naturalized citizen, Plaintiffs have indicated to me that

they will wait to submit damages evidence for her claims until this Court issues a ruling on the

plaintiffs’ motion for renewed default judgment in Roberts, et al. v. Islamic Republic of Iran, No.


166
       SGT Nathan Vacho was also killed in this attack; his estate is a plaintiff in Karcher.



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20-cv-1227 (RCL), ECF No. 35-1. The following chart reflects the claims asserted by the other

Plaintiffs injured in the May 5, 2006, attack, as well as the evidence setting forth the bases of those

claims. That evidence is provided as exhibits to the accompanying Gielchinsky Declaration.

 Plaintiff Relationship to                  Claim(s) Asserted           Evidence                             Exhibit
           Direct Victim
 Luz Maria 1SG Saenz’s sister               Solatium claim              Copy of Luz Maria                    W
 Estrada                                    $2.5 million                Estrada’s certificate of
                                                                        naturalization
                                                                        Declaration of Luz                   X
                                                                        Estrada-Pulido, dated June
                                                                        1, 2023
 Elva            1SG Saenz’s half-          Solatium claim              Copy of Elva Espinoza’s              Y
 Espinoza        sister                     $2.5 million                certificate of citizenship
                                                                        Declaration of Elva                  Z
                                                                        Espinoza, dated June 1,
                                                                        2023
 Frances         1SG Saenz’s half-          Solatium claim              Copy of Frances Catherine            AA
 Catherine       sister                     $2.5 million                Castro’s U.S. passport
 Castro                                                                 Declaration of Frances               BB
                                                                        Castro, dated May 31,
                                                                        2023

                   1.            Solatium Claims Brought by 1SG Saenz’s Family Members

                            i.      Luz Maria Estrada167

         Luz Maria Estrada was one year younger than 1SG Saenz, and described how their father

left their mother while she was pregnant with her.168 Their mother remarried and gave birth to their

half-sister Elva, and their family moved to the United States in 1970, after which her mother had

Frances and Daniel.169 Luz said 1SG Saenz’s stepfather favored his own children, and often




167
         Luz Maria Estrada’s certificate of naturalization and declaration confirm that she is a U.S. citizen. She is
therefore eligible to bring claims under 28 U.S.C. § 1605A(a)(2)(A)(ii)(I). See Ex. W, certificate of naturalization; Ex.
X, Declaration of Luz Estrada-Pulido, dated June 1, 2023, ¶ 1.
168
         See id., ¶¶ 5-6.
169
         See id., ¶ 6.



                                                               32
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physically abused Luz, her mother, and 1SG Saenz.170 1SG Saenz protected Luz from his blows,171

and protected her in other ways as well. He walked her to and from school and stood up to bullies

for her.172 According to Luz, 1SG assumed a patriarchal role in their family, and she looked up to

him.173 When 1SG Saenz joined junior ROTC in high school, Luz did too.174 When he was

scheduled to graduate high school as a senior, Luz earned enough credits to graduate as a junior

so they could walk across the stage together.175

        Luz was proud of 1SG Saenz’s decision to join the Army, although concerned at the same

time.176 He continued to protect her by sparing her any knowledge of the hardships he encountered

during his service, and she was “overjoyed” when he fulfilled his service commitment and returned

home.177 Luz described how she was “shocked” when her brother told her he had decided to re-

enlist: “I could not fathom why he would risk his safety again.”178 1SG Saenz returned from his

first deployment to the Middle East safely, and deployed again in 2005 to Iraq.179 Luz recalled

“plead[ing] with him to stay,” and 1SG Saenz responding that he would rather serve than see either

of their sons fight in the war.180


170
        See id., ¶ 7.
171
        See id., ¶ 8.
172
        See id., ¶ 11.
173
        See id., ¶¶ 11-12.
174
        See id., ¶ 12.
175
        See id., ¶ 13.
176
        See id., ¶¶ 14-15.
177
        See id., ¶¶ 16-17.
178
        Id., ¶ 19.
179
        See id., ¶¶ 19, 22.
180
        See id., ¶ 22.


                                                   33
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       Luz and her family eagerly anticipated his return, which was scheduled to coincide with

Mother’s Day.181 They had plans to watch sci-fi movies, which they both loved.182 With just days

until 1SG Saenz’s return home, Luz received a phone call from her cousin telling her go to her

mother’s house. Luz recalled how, “[n]aturally, I became worried that something had happened to

my mother.”183 Upon her arrival, Luz saw two military officers, and knew immediately what had

happened.184

       Luz described feeling angry at her brother for re-enlisting, and angry at his wife for

encouraging him.185 She struggled to eat, sleep, and get dressed, and took time off of work.186 She

avoided people, not wanting to hear their condolences.187 The only thing that kept her going was

the fact that her family needed her to be strong.188 Luz eventually returned to work; as a single

mother, she had to earn a living for her children.189 She described herself as feeling “overwhelming

grief and sorrow”
                                                  190




181
       See id., ¶ 25.
182
       See id.
183
       See id.
184
       See id., ¶ 26.
185
       See id., ¶¶ 19, 28.
186
       See id., ¶ 29.
187
       See id.
188
       See id., ¶ 27.
189
       See id., ¶ 30.
190
       See id., ¶ 31.



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         1SG Saenz’s death “fractured” their family, according to Luz. They no longer gather for

holidays, birthdays, or family dinners, finding it easier to cope with his passing by themselves.191

Luz’s family’s relationship with 1SG Saenz’s wife also grew increasingly strained, and they have

not been able to spend time with 1SG Saenz’s son as a result.192 Luz grieves not being able to tell

her nephew about his father, and the missed opportunity for him to grow up with his cousins.193

She misses the “one person who had the innate ability to comfort me when I was feeling depressed

or anxious.”194 She describes her sadness as being “so deep that it never truly fades, regardless of

how much time goes by.”195

         I recommend an award of $2.5 million for Luz Maria Estrada’s solatium claim.

                          ii.   Elva Espinoza196

         1SG Saenz was seven years old when Elva Espinoza was born to his mother and

stepfather.197 Elva recalled her father attacking her along with her older siblings, and 1SG Saenz




191
         See id., ¶ 34.
192
         See id., ¶ 35.
193
         See id.
194
         Id., ¶ 32.
195
         Id., ¶ 36.
196
         Elva Espinoza’s certificate of citizenship and declaration confirm that she is a U.S. citizen, and was so at the
time of the attack. She is therefore eligible to bring claims under 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(I) and 1605A(c).
See Ex. Y, certificate of citizenship; Ex. Z, Declaration of Elva Espinoza, dated June 1, 2023, ¶ 1.
197
         See id., ¶¶ 2-3, 5.



                                                               35
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protecting her.198 According to Elva, “he was the only paternal figure I had in my life.”199 He gave

her money when she needed it and taught her how to drive and take care of her car.200

        Elva recalled sobbing with her sister and mother when they brought 1SG Saenz to the bus

that would take him to boot camp.201 She was “terrified that something awful might happen to

him.”202 She sent him care packages while he was away and the two exchanged letters regularly.

Like Luz, Elva was relieved when his service commitment ended and concerned at his decision to

subsequently re-enlist.203 Once again she was “terrified” that something would happen to 1SG

Saenz while he was deployed to Iraq, and she “begged” him not to go.204 Elva prayed every single

day for his safe return.205

        Elva’s sister called her on May 5, 2006, telling her to go to their mother’s house. Like Luz,

Elva assumed that something had happened to their mother and rushed over, only to find two

military officers.206 She recalled her mother “consumed with anger, shouting at the officers, and

accusing them of being responsible for her son’s death.”207 Overwhelmed, Elva cried herself to




198
        See id., ¶ 6.
199
        Id., ¶ 6.
200
        See id., ¶¶ 7-8.
201
        See id., ¶ 11.
202
        Id.
203
        See id., ¶¶ 12-15.
204
        Id., ¶ 18.
205
        See id., ¶ 19.
206
        See id., ¶ 20.
207
        Id., ¶ 21.



                                                     36
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sleep and awoke with her mind racing. She was scared to leave her mother’s side, fearing that “she

might try to join Carlos.”208

       Elva bought clothes for her children to wear to their first funeral, “furious” that everyone

else in the store was carrying on with their lives while her world had come to a halt.209 She and her

family met 1SG Saenz’s body at the airport and buried him, after which she could not eat, sleep,

or stop crying.210 She “fell into a deep depression,” punctuated by “panic attacks that left me

paralyzed” when she encountered anything that reminded her of her brother.211
                                                            12
                                                                 Working and staying busy helped, and

Elva credits her faith with getting her though that terrible time.213

       Like Luz, Elva described how her family does not continue their tradition of getting

together to celebrate holidays, explaining that her mother was not willing to celebrate without 1SG

Saenz.214 She has not heard from her sister-in-law or nephew in years, and it brings her “great

sadness” to know that she and her brother will never fulfill their plan to bring their children to

Mexico, their birthplace.215 She explains that her family “not only lost Carlos; we lost each other

as well.”216



208
       Id., ¶ 22.
209
       Id.
210
       See id., ¶¶ 23-24.
211
       Id., ¶ 24.
212
       See id.
213
       See id., ¶¶ 24-25.
214
       See id., ¶ 27.
215
       Id., ¶ 26.
216
       Id., ¶ 29.



                                                      37
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        I believe that Plaintiffs have shown that Elva Espinoza has satisfied the “functional

equivalent” test required for half-siblings to recover solatium damages, and recommend an award

of $2.5 million for her solatium claim.

                         iii.   Frances Castro217

        Frances Castro was born in the U.S., after her family moved there from Mexico.218 Unlike

her sisters, she was close with her father, and was devastated at his death when she was seven

years old. Her mother had to work long hours to support them, and “Carlos stepped in to fill the

void.”219 1SG Saenz acted as Frances’s “parent,” playing boardgames and even house with her,

walking her to school, preparing her dinner, and getting her ready for bed.220 1SG Saenz even

spoke to Frances’s teachers to make sure she was receiving the support in school she needed.221

Whether Frances needed protection from bullies or help about boys, she turned to 1SG Saenz.222

Frances called her brother a “solid presence” in her life, “a dependable older brother who never let

me down.”223 When he was away for Army training, 1SG Saenz would write her letters with a

drawing of an animal, and specifically ask to speak to her when he called home.224




217
         Frances Castro’s U.S. passport and declaration confirm that she is a U.S. citizen, and was so at the time of
the attack. She is therefore eligible to bring claims under 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(I) and 1605A(c). See Ex.
AA, U.S. passport; Ex. BB, Declaration of Frances Castro, dated May 31, 2023, ¶ 1.
218
        See id., ¶ 3.
219
        Id., ¶ 4.
220
        Id., ¶ 5.
221
        See id., ¶ 6.
222
        See id.
223
        See id.
224
        See id., ¶ 10.



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        Frances lived with 1SG Saenz and his girlfriend during the interim between his service

periods. She described how she had a “rough patch” in her life, but with his support was able to

secure a steady job that he drove her to and from.225 Frances returned to their house often after

1SG Saenz married his girlfriend and had a son: “I was ecstatic to become an aunt and took my

role seriously.”226

        Frances recalled crying even before the military officers parked at her mother’s house

uttered a single word.227 Her entire body ached, even her scalp.228 She longed to see her brother’s

body, but his wife insisted that the casket remain closed because of his injuries.229 She feels

uncertain to this day about “whether it was truly Carlos who was laid to rest.”230

        After 1SG Saenz’s funeral, Frances found it difficult to eat or sleep, and when she did

sleep, she had nightmares of seeing people being killed. Occasionally, her brother would appear

in her dream and then vanish, leaving her feeling like she had lost him all over again. Frances’s

anxiety grew with time,

                                      Frances acknowledges that her brother’s death has left her

“consumed” with worry over something bad happening to her children.232 She is “constantly”




225
        Id., ¶ 12.
226
        Id., ¶ 14.
227
        See id., ¶ 17.
228
        See id., ¶ 19.
229
        See id., ¶ 20.
230
        Id.
231
        Id., ¶ 21.
232
        Id., ¶ 22.


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fearful for them and explains: “I do not think I would be able to survive the loss of another person

I loved.”233

       I believe that Plaintiffs have shown that Frances Castro has satisfied the “functional

equivalent” test required for half-siblings to recover solatium damages and recommend an award

of $2.5 million for her solatium claim.

       e.      April 22, 2011, Attack – Numaniyah

       On April 22, 2011, Private First Class (“PFC”) Antonio Stiggins was occupying the gunner

position in the second vehicle of a multi-vehicle convoy traveling west on Alternate Supply Route

Bismark when his vehicle was struck by a multi-array explosive emplaced on the right side of the

road at approximately 2:18 p.m. local time. PFC Stiggins’s casualty report confirms that he was

killed as a result of the blast. See 2022 WL 4764905, at *42. This Court found satisfactory evidence

in the record to demonstrate that the explosive used in this attack was “an EFP traceable to Iran

and its proxies,” and found Iran responsible for the attack “by supporting proxy forces who

conducted the attack.” Id. at *43.

       The Plaintiffs in this case injured as a result of this attack are the estate of Antonio Stiggins;

Angel Mayes, PFC Stiggins’s mother; Luke Stiggins, PFC Stiggins’s father; and Donald Mayes,

PFC Stiggins’s stepfather. See AC, ¶¶ 1303-11. The following chart reflects the claims asserted by

the Plaintiffs injured in the April 22, 2011, attack, as well as the evidence setting forth the bases

of those claims. That evidence is provided as exhibits to the accompanying Gielchinsky

Declaration.




233
       Id.



                                                      40
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 Plaintiff      Relationship to          Claim(s) Asserted         Evidence                          Exhibit
                Direct Victim
 Estate of      Deceased victim          Economic loss      Copy of Order for Formal                 CC
 Antonio                                 claim              Appointment of Personal
 Stiggins                                $3,493,441.47      Representative for the
                                                            Purposes of Litigation
                                                            under the Wrongful Death
                                                            Act, dated May 3, 2016
                                                            Declaration of Angel                     DD
                                                            Mayes, dated March 23,
                                                            2023
                                                            Appraisal of Present Value               EE
                                                            of Economic Life of
                                                            Antonio Stiggins, dated
                                                            April 27, 2023, prepared
                                                            by L. Wayne Plumly, Jr.,
                                                            Ph.D.
                                         Conscious pain and Copy of AR 15-6                          FF
                                         suffering claim    Investigation Report for
                                         $1 million         April 22, 2011, attack
 Angel          PFC Stiggins’s           Solatium claim     Copy of Angel Mayes’s                    GG
 Mayes          mother                   $5 million         U.S. passport
                                                            Declaration of Angel                     HH
                                                            Mayes, dated June 28,
                                                            2021
 Luke           PFC Stiggins’s           Solatium claim     Copy of Luke Stiggins’s                  II
 Stiggins       father                   $5 million         birth certificate
                                                            Declaration of Luke                      JJ
                                                            Stiggins, dated June 13,
                                                            2023
 Donald         PFC Stiggins’s           Solatium claim     Copy of Donald Mayes’s                   KK
 Mayes          stepfather               $3.75 million      U.S. passport
                                                            Declaration of Donald                    LL
                                                            Mayes, dated June 18,
                                                            2021

                 1.      Claims Brought by PFC Stiggins’s Estate

                         i. Economic loss claim

        As the representative of PFC Stiggins’s estate,234 Angel Mayes seeks compensation for



234
        See Ex. CC, Order for Formal Appointment of Personal Representative for the Purposes of Litigation under
the Wrongful Death Act, dated May 3, 2016, appointing Angel Mayes as representative of PFC Stiggins’s estate.



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economic losses in the form of lost wages, benefits, and retirement pay. See 28 U.S.C. § 1605A(c)

(“damages may include economic damages”).

        To project PFC Stiggins’s future income stream if not for the attack, Dr. Plumly

incorporated testimonial evidence that he planned to serve three years in the Army, after which he

would have returned to college to become an electrical engineer and secured employment in that

field in Albuquerque, New Mexico, and overlaid that information against statistical data generated

by the Bureau of Labor Statistics, the Department of Labor, military pay websites, and other

relevant sources.235 From these sources, Dr. Plumly calculated the present value of PFC Stiggins’s

lost income, assuming that PFC Stiggins, who was 25 years old when he was killed, (1) would

have remained in the military for three years; (2) would have used the GI Bill to become an

electrical engineer and secured employment in New Mexico with an annual income of $93,080.00,

adjusted annually by 3.085%, the percent change for the relevant years according to the U.S.

Bureau of Labor Statistics; (3) would have started collecting SSR benefits at age 67; and (4) had a

life expectancy of 76.71 years.236 Dr. Plumly adjusted these income figures for taxes and

consumption, adjusted the SSR benefits for inflation, and adjusted the total lost earnings and SSR

benefits to present value at a rate of 3.35%, the average yield of 30-year Treasury Bonds between

2006-2022.237 Adjusted to present value, Dr. Plumly calculated the estate of PFC Stiggins’s

economic loss claim as $3,493,441.47.238 I recommend that the Court award this amount for the

estate of PFC Stiggins’s economic loss claim.


235
        See Ex. EE, Appraisal of Present Value of Economic Life of Antonio Stiggins, dated April 27, 2023, prepared
by L. Wayne Plumly, Jr., Ph.D., at 3-4.
236
        See id.
237
        See id. at 4-5.
238
        See id. at 5.



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                          ii. Conscious pain and suffering claim

       The Army’s investigation into the April 22, 2011, attack reflects that two hours and

fourteen minutes elapsed between the time of the attack and PFC Stiggins’s death.239 During that

time, PFC Stiggins, who “suffered severe wounds to his pelvis,”240 “was conscious and was able

to hold” the hand of the soldier attending to him.241 When medics “attempted to start an IV on PFC

Stiggins, … he was becoming combative,” so “personnel [had to] hold PFC Stiggins down so he

could start an IV, which he finally accomplished.”242 PFC Stiggins then “pulled his arm away,

pulling the catheter out.”243 Soldiers “again tried to start an IV, but PFC Stiggins began trying to

sit up, making it impossible for the medic to start the IV.”244 PFC Stiggins was then loaded onto a

medavac flight to the combat support hospital, where he was pronounced dead.245 The AR 15-6

does not reflect whether PFC Stiggins was conscious during this ride, but it does make clear that

PFC Stiggins was conscious after the attack occurred at 1418 until at least two minutes before the

helicopter arrived,246 which was 40 minutes later, at 1458.247

       I recommend an award of $1 million for the estate of PFC Stiggins’s conscious pain and

suffering claim. See Smith ex rel. Smith v. Islamic Emirate of Afghanistan, 262 F. Supp. 2d 217,



239
       See Ex. FF, AR 15-6 Investigation Report for April 22, 2011, attack, at 34 of the pdf under “Facts.”
240
       Id. at 17 of the pdf.
241
       Id. at 18 of the pdf.
242
       Id.
243
       Id.
244
       Id.
245
       See id. at 21-22 of the pdf.
246
       See id. at 123 of the pdf.
247
       See id. at 37 of the pdf.



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234 (S.D.N.Y. 2003), amended, 2003 WL 23324214 (S.D.N.Y. May 19, 2003) (awarding plaintiff

who may have experienced conscious pain and suffering $1 million); Elahi v. Islamic Republic of

Iran, 124 F. Supp. 2d 97, 113 (D.D.C. 2000) (awarding plaintiff who struggled with his assassin

for thirty seconds before being shot and killed $1 million).

                      2.   Solatium Claims Brought by PFC Stiggins’s Family Members

                           i. Angel Mayes248

         Knowing that her son was conscious before his death “overwhelms” PFC Stiggins’s

mother, Angel Mayes.249 Angel learned from the investigative report that the medics were delayed

in their ability to treat her son, and wonders if faster treatment could have resulted in a different

outcome.250 PFC Stiggins was her only child, and according to Angel, “[l]osing an only child is

different than any other loss. It is like I lost my own life with his.”251

         Angel got divorced from PFC Stiggins’s father when PFC Stiggins was about nine years

old. PFC Stiggins lived with Angel throughout the year, and with his father during the summers

and alternate holidays.252 The custody arrangement was “amicable,”253 and when Angel remarried

two years later, she described how they “simply enjoyed our time as a family of three, doing




248
         Angel Mayes’s U.S. passport and declaration confirm that she is a U.S. citizen, and was so at the time of the
attack. She is therefore eligible to bring claims under 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(I) and 1605A(c). See Ex. GG,
U.S. passport; Ex. HH, Declaration of Angel Mayes, dated June 28, 2021, ¶ 1.
249
         Id., ¶ 49.
250
         See id.
251
         Id., ¶ 50.
252
         See id., ¶ 7.
253
         Id.



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everyday things together.”254 She believes that her son’s decision to join the military may have

been influenced by her second husband’s years of service in the Air Force.255

       Angel recalled how boot camp changed her son at his graduation: “when I saw Antonio, I

realized the boy was gone; my son had grown into a man.”256 At home after graduation and before

his pre-deployment training, PFC Stiggins “proudly wore his uniform everywhere he went,” taking

care “to make sure his cavalry beret was in the perfect position.”257 He got a haircut every other

day to “look as he should.”258 He also spent time with Angel’s mother, who was suffering with

cancer at the time.259

       The prospect of PFC Stiggins’s deployment was difficult on Angel, and she and her

husband drove eight hours to his station to visit him before he left.260 They kept in touch by

telephone and mail while he was in Iraq, and when her mother died PFC Stiggins came home for

the funeral.261 At the airport before his flight back, Angel told her son that if something were to

happen to him, she would “just die.”262

       The military officers visited PFC Stiggins’s father’s home first, who insisted that he




254
       Id., ¶¶ 8-9.
¶
255
       Id., ¶ 15.
256
       Id., ¶ 17.
257
       Id., ¶ 21.
258
       Id.
259
       See id.
260
       See id., ¶ 22.
261
       See id., ¶ 23.
262
       Id., ¶ 24.



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accompany them to her home.263 Every part of their visit was “unbearable,” according to Angel.

She screamed, grabbed her ex-husband’s chest, rocked back and forth, and shook.




She developed “significant memory loss” after her son was killed, which impeded her work and

interfered with her memories of her son.266 Eventually, many of her memories returned, but some

continue to elide her, which she finds very upsetting.267 Angel has met with a grief counselor, but

for the most part, shares her thoughts with God, her husband, and PFC Stiggins’s father.268 Angel

and her husband, and PFC Stiggins’s father and his wife, get together every year on the anniversary

of PFC Stiggins’s death to talk about him.269 She visits her son’s grave with his father sometimes,

and sometimes with her husband.270 Angel started celebrating Christmas again after refusing to do

so for the first few years, but states that “[a]s a whole, the holidays are filled with sorrow.”271 She

does not “feel connected to anything”; “every day is filled with my overwhelming loss.”272

       I recommend an award of $5 million for Angel Mayes’s solatium claim.



263
       See id., ¶ 26.
264
       See id., ¶ 27.
265
       See id., ¶ 43.
266
       Id.
267
       See id.
268
       See id., ¶ 41.
269
       See id., ¶ 38.
270
       See id., ¶ 40.
271
       Id., ¶ 39.
272
       Id., ¶ 47.



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                              ii. Luke Stiggins273

         Luke Stiggins recalled the early days of his marriage to PFC Stiggins’s mother, when the

three of them would go on camping trips in Colorado.274 His son loved the outdoors, and used to

run until he was exhausted.275 He continued taking his son camping after remarrying when PFC

Stiggins was ten years old; his wife had a son the same age, and the two boys were always “into

something.”276 Their relationship “thrilled” Luke,277 who also recalled the boys getting their truck

stuck in the mud as teenagers, and taking their clothes off to keep them clean.278

         Luke attributes PFC Stiggins’s decision to enlist in the Army to a conversation they had

during which Luke told his son to consider the military as an option to pull himself out of a tough

time in his life.279 Luke recalled how “driven” his son was during training, although he never lost

his sense of humor.280 The two wrote to each other and spoke on the phone.281 Luke also sent his

son care packages while he was deployed with shaving cream, razors, and cookies. If Angel was

sending a package to their son, he would include items in it.282



273
          Luke Stiggins’s birth certificate and declaration confirm that he is a U.S. citizen, and was so at the time of
the attack. He is therefore eligible to bring claims under 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(I) and 1605A(c). See Ex. II,
birth certificate; Ex. JJ, Declaration of Luke Stiggins, dated June 13, 2023, ¶ 1.
274
         See id., ¶ 8.
275
         See id.
276
         Id., ¶¶ 10-11.
277
         Id., ¶ 10.
278
         See id., ¶ 12.
279
         See id., ¶ 17.
280
         See id., ¶¶ 18-19.
281
         See id., ¶¶ 20-21.
282
         See id., ¶ 22.



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          Luke recalled how he shifted into “some type of autopilot mode” when the military officers

gave him their “speech” about his son being killed, which allowed him to have the presence of

mind to escort them to Angel’s house.283 Still, he does not remember what happened at Angel’s

house, calling that time “a blur.”284 Luke does remember shaking when he met his son’s body at

the airport, and the reality of his son being “truly gone” hitting him at that moment.285

          Crowds of people lined the local streets on the way to the mortuary, and Luke recalled

feeling very proud of his son, especially when he saw the flag hung by the fire department.286

When he saw his son in his casket, he told him about that pride, and that he loved and missed

him.287

          After his son’s death, Luke started having dreams about “a Tony who is alive and well.”288

In some of these dreams, PFC Stiggins is the same age as when he was killed, and they are planning

a fishing or hunting trip together. In others, he has a wife and children. Luke described how he

awakens from these dreams “forced to deal with the reality that he is gone.”289 According to Luke,

these dreams have had a more powerful effect on him as time has passed.290

          Luke also developed other sleep issues after his son’s death. He has difficulty sleeping and

experiences “jerky sleep,” during which his “arms start flailing, and my body suffers through


283
          Id., ¶ 29.
284
          Id.
285
          Id., ¶ 31.
286
          See id., ¶ 34.
287
          See id., ¶ 36.
288
          Id., ¶ 42.
289
          Id.
290
          See id.



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violent movements while I’m sleeping.”291 Those symptoms, along with Luke’s increased anxiety

and temper,292 led him to seek counseling in 2011, as he had never experienced them before his

son’s death.293 Luke was diagnosed with PTSD                                , and continues his

psychotherapy.294



                               Despite these interventions, Luke continues to have his dreams and

“jerky sleep,” and has learned from his psychologist that these and his other symptoms are effects

of the PTSD                                 which are “connected to losing my only child.”296

       Luke used to weep at his son’s gravesite. He used to bring beers there and leave one, but

for the past three or four years, he has been too heartbroken to go.297 He valued the tradition of

meeting his ex-wife and her husband at a restaurant every year on the anniversary of the attack to

share memories of PFC Stiggins, calling it a “memorial gathering of sorts,” but that stopped with

the pandemic.298 Like Angel, holidays have lost their meaning for Luke, especially Good Friday,

the day he found out his son died.299

       I recommend an award of $5 million for Luke Stiggins’s solatium claim.



291
       Id., ¶ 43.
292
       See id., ¶ 44.
293
       See id., ¶ 45.
294
       See id.
295
       See id., ¶ 46.
296
       Id., ¶ 45.
297
       See id., ¶ 39.
298
       Id., ¶ 40.
299
       See id., ¶ 47.



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                              iii. Donald Mayes300

         Donald Mayes married PFC Stiggins’s mother when PFC Stiggins was eleven years old,

and dated her for two years prior to that.301 He had two older sons from a previous marriage, and

once he married Angel, “considered myself a father of three boys.”302 Donald described how PFC

Stiggins lived with him and Angel during the year, during which their family of three “spent lots

of time outdoors.”303 They were “a happy family,” sharing dinner together every evening.304

Donald cheered him on when he ran track, and gave him rides in the biplane he operated for

work.305

         Donald was proud of PFC Stiggins’s decision to join the Army; he had served in the Air

Force years earlier.306 He recalled how “a light had turned on inside Tony” after basic training,

and “he had begun to become the man he was meant to be.”307 PFC Stiggins was deployed to Iraq

in September 2010, and Donald grew concerned, making sure to watch the news throughout his

tour. When PFC Stiggins was granted leave to attend his grandmother’s funeral during his

deployment, Donald recalled thinking that would be the last time he saw him.308



300
         Donald Mayes’s U.S. passport and declaration confirm that he is a U.S. citizen, and was so at the time of the
attack. He is therefore eligible to bring claims under 28 U.S.C. §§ 1605A(a)(2)(A)(ii)(I) and 1605A(c). See Ex. KK,
U.S. passport; Ex. LL, Declaration of Donald Mayes, dated June 18, 2021, ¶ 1.
301
         See id., ¶¶ 5, 7.
302
         Id., ¶ 8.
303
         Id., ¶ 9.
304
         Id., ¶ 10.
305
         See id., ¶¶ 11-12.
306
         See id., ¶ 15.
307
         Id., ¶ 16.
308
         See id., ¶¶ 18-19.



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       If Donald thinks about the military officers’ visit to their house to relay the news of PFC

Stiggins’s death, he will still tear up.309 He recalled how his wife “was a wreck.”310 At the airport

to recover PFC Stiggins’s body, he had to hold her back from running to the casket.311

       Donald’s older son had died three years before PFC Stiggins, and he already knew that

“[w]hen you sit and face a casket, knowing your kids is in it, you can do nothing but feel

overwhelmed by a kind of agony.”312 Although he was suffering too, he did his best to comfort

Angel.313

       Donald described how he has “suffered personal losses, deep and painful losses in my life,

like losing Tony.”314 He copes by trying to suppress his feelings and not focusing on the sadness;

instead, he focuses on Angel and her suffering: “I feel my own pain, but I need to be strong enough

to be there for her.”315 Still, he tears up at various times thinking about the “tremendous loss” of

PFC Stiggins.316

       As described above, the court in Fritz adopted the special master’s recommendation to

award the stepmother of one of the service members $1.5 million at the request of the plaintiffs in

that case – 25% of the amount the court awarded to that service member’s biological mother. See

2018 WL 5046229, *22. The special master opined that “[i]t would not be unreasonable to award


309
       See id., ¶ 20.
310
       Id., ¶ 21.
311
       See id., ¶ 22.
312
       Id., ¶¶ 20, 26.
313
       See id., ¶ 26.
314
       Id., ¶ 32.
315
       Id.
316
       Id., ¶¶ 32, 35.



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a higher amount to Vanessa” than the $1.5 million plaintiffs requested on her behalf, “but in light

of Vanessa’s testimony – which indicates that while she feels a loss, the focus of her concern is

the effect that Bryan’s death has had on her husband,” the plaintiffs’ request was reasonable and

appropriate. Id.

       Donald Mayes lived in the same household as PFC Stiggins since he was eleven years old,

and considered him “my youngest son.”317 While Donald Mayes’ testimony reflects that much of

his suffering stems from the effects that PFC Stiggins’s death has had on Angel, I believe that his

own relationship with PFC Stiggins from a young age merits an award of $3.75 million for his

solatium claim – i.e, 75% of the award requested for Angel.

                                        CONCLUSION

       For the reasons stated above, I recommend the Court approve the following awards:

Plaintiff                     Relationship to Victim          Recommended Award

Estate of Roberto Andrade     Deceased victim                 Economic loss $1,786,097.12

Sandra Valencia               SSG Andrade’s mother            Solatium $5 million

Veronica Pena Andrade         SSG Andrade’s stepmother        Solatium $5 million

Angelica Andrade              SSG Andrade’s half-sister       Solatium $2.5 million

Veronica D. Andrade           SSG Andrade’s half-sister       Solatium $2.5 million

Preston Reece                 SPC Reece’s brother             Solatium $2.5 million

Shaylyn Reece                 SPC Reece’s sister              Solatium $2.5 million

Estate of Curtis E. Glawson, Jr. Plaintiff decedent’s estate Economic loss $2,652,663.67

Jazmon Reyna                  SPC Glawson’s half-sister       Solatium $3.125 million

Luz Maria Estrada             1SG Saenz’s sister              Solatium $2.5 million


317
       Id., ¶ 8.



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Elva Espinoza                1SG Saenz’s half-sister        Solatium $2.5 million

Frances Catherine Castro     1SG Saenz’s half-sister        Solatium $2.5 million

Estate of Antonio Stiggins   Deceased victim                Economic loss $3,493,441.47

Estate of Antonio Stiggins   Deceased victim                Pain and suffering claim $1 million

Angel Mayes                  PFC Stiggins’s mother          Solatium $5 million

Luke Stiggins                PFC Stiggins’s father          Solatium $5 million

Donald Mayes                 PFC Stiggins’s step-father     Solatium $3.75 million



Date: June 22, 2023                                  Respectfully submitted,



                                                     /s/ Stephen A. Saltzburg
                                                     Special Master




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